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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


  KRISTIN BOWEN and
  MICHELLE BISHOP,

               Plaintiffs,
  v.                                                    Case No. 3:19-cv-382-J-32PDB

  CAPITAL VACATIONS, LLC,

               Defendant.




                                        ORDER

        Upon review, the parties’ Consent Motion to Stay Pending Arbitration (Doc. 11)

  is GRANTED.1       The parties are compelled to arbitrate plaintiffs’ claims consistent

  with their signed arbitration agreement (see Doc. 11, Ex. A). This case is therefore

  stayed and the Clerk shall administratively close the file, which will be subject to

  reopening upon motion when the arbitration proceedings are complete.

        DONE AND ORDERED in Jacksonville, Florida the 3rd day of June, 2019.




                                                      TIMOTHY J. CORRIGAN
                                                      United States District Judge



        1  Defendant’s motion to compel arbitration and dismiss or stay (Doc. 10) is moot
  in light of the parties’ consent motion.
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  s.
  Copies:
  Counsel of record




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